                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA


    UNITED STATES OF AMERICA,

                           Plaintiff,

                   v.

    JOHN PEARL SMITH, II,                   Case No. 3:16-cr-00086-SLG-1

                           Defendant.


      ORDER REGARDING MOTION TO PRECLUDE MERCY INSTRUCTION

         Before the Court at Docket 706 is the government’s Motion In Limine to

Preclude Evidence or Argument Concerning a Mercy Instruction. Defendant John

Pearl Smith, II responded in opposition at Docket 805. The government replied at

Docket 849.

         The government seeks an order precluding the defense “from introducing

an instruction, evidence, or argument that ‘death is never required,’ i.e. a ‘mercy’

instruction.”1 Although federal courts often use the terms “death is never required”

and “mercy” interchangeably, in this Court’s view the terms refer to different jury

instructions.      A proper “death is never required” instruction tells a capital

sentencing jury that federal law does not require it to impose a death sentence

even though it has found a defendant guilty of a capital crime, eligible for the death




1
    Docket 706 at 2.




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penalty, and is weighing the found aggravating and mitigating factors in the

selection phase. In contrast, a “mercy instruction” tells a capital sentencing jury

that it may consider jurors’ sense of mercy during the selection phase, when the

jury is determining whether to impose a death sentence or a life sentence on a

defendant. Based on the parties’ briefing, it appears that the dispute is about a

“mercy instruction.”2

I.     The parties’ positions

       The parties agree that mercy plays a role at some point in the jury’s selection

phase deliberative process. They disagree, however, as to when in that process

the jury may consider mercy. The government asserts that the jury may consider

mercy when it is weighing the found aggravating factors against the found

mitigating factors.3      In contrast, Mr. Smith appears to seek to have the jury

instructed that it may consider mercy after it has concluded that the aggravating

factors sufficiently outweigh the mitigating factors so as to justify the death

penalty.4 Mr. Smith appears to adopt the same argument recently made in the


2
  Mr. Smith asks the Court to reserve ruling on the issue of a mercy instruction until the parties
have submitted their proposed penalty phase instructions. Docket 805 at 2. The parties have
since filed such proposed instructions, which the Court has reviewed.
3
  Docket 706 at 4 (“A sentencing jury may factor in mercy in the context of the balancing process
required during the sentencing phase as outlined in 18 U.S.C. § 3593”); Docket 706 at 6 (“Mercy
is not precluded from entering into the balance of whether the aggravating circumstances
outweigh the mitigating circumstances.”).
4
  Mr. Smith’s response to the government’s motion does not present a clear position on this
issue. He cites favorably to cases that both agree with the government’s position and to cases
that disagree with the government’s position. Compare Docket 805 at 6 (citing United States v.
Allen, 247 F.3d 741 (8th Cir. 2001) for the proposition that “[m]ercy is not precluded from

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Eastern District of Louisiana, in which the defendants asserted that “a ‘mercy

instruction’ is an instruction that, even if the jury finds, after the weighing process,

that a death penalty is justified, the jury is permitted to exercise mercy and impose

a life sentence without the possibility of release instead.”5

       Thus, the issue before the Court is not whether to instruct the jurors that they

may consider mercy, but how to instruct the jurors as to when they may consider

mercy.6

II.    Relevant statutes

       The Federal Death Penalty Act (FDPA) sets forth an extensive and specific

process that a court and jury must follow during the penalty stage of a capital trial.

The instant motion requires interpretation of two sections of the FDPA: Sections

3591(a) and 3593(e)(3). Read together, these sections require that during penalty

phase deliberations, a sentencing jury “shall consider whether all the aggravating

factor or factors found to exist sufficiently outweigh all the mitigating factor or


entering into the balance of whether the aggravating circumstances outweigh the mitigating
circumstances”—which is the government’s position) with Docket 805 at 9 (citing United States
v. Duong, Case No. 01-CR-20154, Docket 1488 at 15 (N.D. Cal. Dec. 14, 2010) for the
proposition that “[e]ven if you have unanimously found that the Aggravating Factors sufficiently
outweigh the mitigating factors that a death sentence is justified . . . each of you must still
determine whether to in fact impose a death sentence . . . . You may decline to impose a death
sentence because of mercy or for any reason you deem to be relevant”—which is directly
contrary to the government’s position).
5
  United States v. George, Case No. 17-201, 2020 WL 4432276, at *14 (E.D. La. July 31, 2020)
(emphasis in original).
6
 The parties have each submitted proposed jury instructions on this issue. See Docket 878 at
15–18 (government’s proposed penalty phase instructions); Docket 879 at 15 (defense’s
proposed penalty phase instructions).


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factors found to exist to justify a sentence of death.”7 Then, “[b]ased upon this

consideration, the jury by unanimous vote . . . shall recommend whether the

defendant should be sentenced to death [or] to life imprisonment without possibility

of release.”8 If, after the jury considers “the factors set forth in section 3592 [the

aggravating and mitigating factors] in the course of a hearing held pursuant to

section 3593, it is determined that imposition of a sentence of death is justified,”

then the defendant “shall be sentenced to death.”9 Stated plainly, the deliberating

jury must weigh the found aggravating factors against the found mitigating

factors—these appear to be the only considerations contemplated by the FDPA.

If the jury unanimously finds, after weighing, that the aggravating factors

“are sufficient” to justify a death sentence, then it shall so recommend, and the

court will impose such a sentence.10

III.     Statutory interpretation

         The Court has reviewed the statutory interpretation analyses made by other

federal courts considering a mercy instruction. In 2001, the Eighth Circuit reviewed

sections 3591(a) and 3593(e) and concluded that “[b]ased upon the plain language



7
  18 U.S.C. § 3593(e)(3). The FDPA also provides that if no mitigating factor is found to exist,
the jury shall consider “whether the aggravating factor or factors alone are sufficient to justify a
sentence of death.” 18 U.S.C. § 3593(e)(3).
8
    18 U.S.C. § 3593(e)(3) (emphasis added).
9
    18 U.S.C. § 3591(a) (emphasis added).
10
     18 U.S.C. § 3594.


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of the statute, once a jury makes a final, unanimous determination that a sentence

of death is justified, then the FDPA requires its imposition.”11 The Eighth Circuit

found that it would be inconsistent with the FDPA “as a whole” to instruct the jury

that it could determine that the weight of the aggravating factors was sufficient to

justify a death sentence, but then use mercy to reject a death sentence.12 This

Court agrees with the Eighth Circuit’s statutory interpretation analysis.

          In 2003, the Western District of Tennessee considered an FDPA defendant’s

request for a mercy instruction in United States v. Haynes.13 The District Court

undertook an extensive analysis of both the statutory construction of the FDPA

and its legislative history. The Haynes Court determined that, after the jury has

found that certain aggravating factors and mitigating factors are proven, the jury

then “must not only weigh the aggravating versus mitigating factors but also

determine whether the result, no matter how imbalanced the scale might be, is

sufficient to justify a sentence of death.”14 The Haynes Court thus expressly

differentiated between the result of the weighing process (i.e., that the found

aggravating factor(s) outweigh the found mitigating factor(s)) and the subsequent



11
  United States v. Allen, 247 F.3d 741, 780 (8th Cir. 2001), vacated on other grounds by Allen v.
United States, 536 U.S. 953 (2002), reaffirmed in United States v. Ortiz, 315 F.3d 873 (8th Cir.
2002).
12
     Id. at 780–81.
13
     265 F. Supp. 2d 914 (W.D. Tenn. 2003).
14
     Id. at 916.


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determination of whether that weighing result was sufficient to justify a sentence

of death (i.e., that the found aggravating factor(s) sufficiently outweigh the

mitigating factor(s) to justify a sentence of death).15 The Haynes Court found that

the FDPA gives jurors discretion—including the discretion to consider mercy—up

to the point in the process when it has unanimously determined that the found

aggravating factor(s) sufficiently outweigh the found mitigating factor(s) so as to

justify a sentence of death.16 Only once it has determined that does the jury lose

discretion to consider mercy. Finally, the Haynes Court’s review of the legislative

history of the FDPA led it to conclude that

          both branches of Congress expressly considered, and ultimately
          rejected, statutory language which mandates imposition of the death
          penalty once the jury found that aggravating factors outweigh any
          mitigating factors. Instead, Congress adopted language allowing
          juries to exercise discretion to reject imposing a death sentence even
          if aggravating factors outweighed mitigating factors should this
          imbalance not be “sufficient” to “justify” a death sentence.17

This Court agrees with the Haynes Court’s reasoning that the FDPA requires the

jury to consider whether the found aggravating factor(s) outweigh the found

mitigating factor(s), but also separately requires the jury to determine if the result


15
  Id. (“§§ 3591(a) and 3593(e), when read together, require the jury to 1) weigh or deliberate
over the balance of the aggravating versus mitigating factors; and then 2) find whether, based
on that weighing process, any imbalance in favor of a death sentence is sufficient to justify the
death penalty.”).
16
  Id. (“[O]nce each juror has decided whether any imbalance is sufficient enough to justify a
death sentence, they have ‘determined’ whether the death sentence, life without parole, or some
other sentence shall be imposed and their job is finished.”).
17
     Id. at 919.


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of that weighing is sufficient to justify a sentence of death. The jury may consider

mercy until it has completed this process, at which point it “shall” recommend a

sentence.18

          In 2010, the Fourth Circuit considered the same issue, noting that “[t]he

issue turns on how the decision whether to select the death penalty rather than a

life sentence should be made according to 18 U.S.C. §§ 3591 and 3593(e).”19 The

Fourth Circuit took a more simplified approach and reasoned that the phrase

“based on this consideration”20 in § 3593(e) refers to the determination of whether

a death sentence is sufficiently justified, and that if such a determination is made,

the defendant “shall be sentenced to death.”21 Thus, the Fourth Circuit held that

the defense’s interpretation of the statutes—that the jury may use mercy to justify

a life sentence despite already finding that the aggravating factors sufficiently

outweighed the mitigating factors—was “legally incorrect.”22


18
  18 U.S.C. § 3593(e). Notably, the government’s proposed instruction reflects this same
analysis, reading in relevant part:

“You are called upon to make a reasoned judgment, based upon all the evidence before you, as
to whether the death penalty is the appropriate punishment for the defendant, or whether the
defendant should be sentenced to life imprisonment without the possibility of release. Please
understand, however, that a sentence of death is never mandatory under the law. Thus, even if
you find that the aggravating factors outweigh any mitigating factor or factors, or in the absence
of any mitigating factors, you may still find that the aggravating factors alone are not sufficient to
justify a sentence of death and return a verdict in favor of life imprisonment without the
possibility of release.” Docket 878 at 18 (emphasis added).
19
     United States v. Caro, 597 F.3d 608, 632 (4th Cir. 2010).
20
     18 U.S.C. § 3593(e).
21
     United States v. Caro, 597 F.3d 608, 632–33 (4th Cir. 2010).
22
     Id.. See also United States v. Lighty, 616 F.3d 321, 367 (4th Cir. 2010) (“Lighty’s proposed

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          The Tenth Circuit does not appear to have addressed this issue; however,

it is addressed in the Tenth Circuit’s Pattern Jury Instructions for FDPA cases. The

jury instructions comment agrees with the Eighth Circuit and the Hayes Court’s

conclusions that the jury’s determination that aggravating factor(s) sufficiently

outweigh mitigating factor(s) so as to justify a sentence of death cannot be altered

by then considering mercy “is strongly supported, if not dictated, by the terms of

§3591(a), which states that the defendant ‘shall be sentenced to death if, after a

consideration of the factors set forth in section 3592 in the course of a hearing

pursuant to section 3593, it is determined that imposition of a sentence of death is

justified.”23 The pattern jury instructions thus reflect that the consideration of mercy

must be “tied to the weighing process” and “the jury just should not be instructed

in a way that suggests that once they have concluded that their discretionary

weighing of aggravating and mitigating circumstances directs a death sentence,

they retain some last reservoir of essentially undirected discretion to withhold the

penalty that they have unanimously found should be imposed under the § 3593(e)

scheme.”24




language would have allowed the jury to impose a life sentence after it found the death
sentence justified under § 3591. However, under Caro, once the jury concludes a death
sentence is justified under § 3591, it must impose the death penalty.”).
23
  Tenth Circuit Pattern Crim. Jury Instructions, Comment to § 3.02 (2018) (emphases in
original).
24
     Tenth Circuit Pattern Crim. Jury Instructions, Comment to § 3.02 (2018).


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       The Court similarly concludes that the text of the FDPA forecloses

instructing jurors that they may consider mercy to alter their determination that the

aggravating factors sufficiently outweigh the mitigating factors to justify a sentence

of death; accordingly, mercy can only be considered during (1) the weighing

process and (2) the determination of whether the outcome of the weighing process

sufficiently favors the death penalty so as to justify a sentence of death.25 This

Court disagrees with the jury instruction given in United States v. Duong, which

told jurors that “[e]ven if you have unanimously found that the Aggravating Factors

sufficiently outweigh the Mitigating Factors that a death sentence is justified . . .

each of you must still determine whether to in fact impose that sentence.”26

IV.    A “death is never required” instruction

       The Court concludes that a juror is never required to find that aggravating

factors sufficiently outweigh mitigating factors as to justify the death penalty and



25
   See Kansas v. Carr, 136 S. Ct. 633, 642 (2016) (“And of course the ultimate question whether
mitigating circumstances outweigh aggravating circumstances is mostly a question of mercy . . .
.”). This Court notes that in United States v. Mikhel, the Ninth Circuit disallowed a capital
defendant from introducing his cousin’s plea that the jury be merciful. 889 F.3d 1003, 1062–63
(9th Cir. 2018). In doing so, the Ninth Circuit stated that the cousin’s plea for mercy “was
essentially an opinion about what the jury’s verdict should be” and “did not bear on Mikhel’s
character, prior record, or the circumstances of his offense.” Id. at 1063. This Court
distinguishes between a witness’s plea for mercy, which is addressed in the order at Docket
922, and jurors’ considerations of mercy, which are permissible.
26
   Docket 805 at 9 (quoting United States v. Duong, Case No. 01-CR-20154, Docket 1488 at 15
(N.D. Cal. Dec. 14, 2010)). See United States v. Sampson, 335 F. Supp. 2d 166, 240 (D. Mass.
2004) (“[R]ather then treating the weighing process as a prerequisite to imposing the death
penalty based on some additional undefined criteria [such as mercy], the court, in essence,
instructed the jurors that the weighing process was the criteria by which they were to determine
if death was the appropriate sentence.”).


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that a juror may consider mercy during this weighing process.27 As to the parties’

arguments that “death is never required,” the Court intends that the jury

instructions will clearly convey that a juror is not required to find that aggravating

factors sufficiently outweigh mitigating factors, even if they have found Mr. Smith

guilty of capital murder in the guilt phase of trial and have found him eligible for the

death penalty in the eligibility phase of trial and regardless of whatever aggravating

and mitigating factors have been found by the jury. The Court reserves ruling on

precisely what language it will adopt for this so-called “death is never required” jury

instruction and for a “mercy” instruction.

                                       CONCLUSION

       In light of the foregoing, the motion at Docket 706 is GRANTED IN PART

and DENIED IN PART as discussed above.


       DATED this 7th day of October, 2020, at Anchorage, Alaska.

                                                   /s/ Sharon L. Gleason
                                                   UNITED STATES DISTRICT JUDGE




27
   See United States v. Sampson, 335 F. Supp. 2d 166, 239 (D. Mass. 2004) (“[T]here are no
circumstances in which the law [FDPA] mandates that a juror find that the aggravating factors
sufficiently outweigh the mitigating factors to justify a sentence of death . . . .”).


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